 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Mark   Duane Weedin
                       __________________________________________________________________


 Debtor 2                Margaret Rose Weedin
                        ________________________________________________________________
 (Spouse, if filing)

                                             Kansas City                       KS
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number             14-20865
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information


                          U.S. Bank Trust National Association as Trustee of the Bungalow Series III          Court claim no. (if
 Name of creditor:        ______________________________________
                                                                                                              known):
 Trust c/o BSI Financial Services, Inc.
                                                                                                              ______5___________
 Last 4 digits of any number you use to identify the debtor’s account:             3 ____
                                                                                ____   3 ____7 ____  7
 Property address:                811 Medford Circle
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________


                                    Olathe                  KS           66062
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:
  x
       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:              ____/_____/______
                                                                                 MM / DD / YYYY

  x
       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                         (a)   $ 1,421.14
                                                                                                                                    __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)       500.00
                                                                                                                                  $ __________

        c. Total. Add lines a and b.                                                                                        (c)      1,921.14
                                                                                                                                  $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became              09 01 2019
                                                                                 ____/_____/______
        due on:                                                                  MM / DD / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                    page 1
                                      Case 14-20865              Doc#     Filed 11/14/19             Page 1 of 5
Debtor 1         Mark Duane Weedin
                _______________________________________________________                                            14-20865
                                                                                               Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
  x
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               __________________________________________________
                  David V. Noyce
                   Signature
                                                                                               Date    11 14 2019
                                                                                                       ____/_____/________




 Print               David V. Noyce
                   _________________________________________________________                   Title    Attorney at Law
                                                                                                       ___________________________________
                   First Name                      Middle Name         Last Name




 Company              Marinosci Law Group
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address            11111 Nall Ave., Suite 104
                   _________________________________________________________
                   Number                 Street



                    Leawood                        KS           66211
                   ___________________________________________________
                   City                                                State        ZIP Code




 Contact phone      913 _____–
                   (______) 800 _________
                                2021                                                                    dnoyce@mlg-defaultlaw.com
                                                                                               Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                        page 2
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                                                     Case No: 14-20865


                          UNITED STATES BANKRUPTCY COURT
                                                      Certificate of Service

I hereby certify that a copy of the foregoing Statement in Response to Notice of Final Cure Payment was served on the parties listed
below by postage prepaid U.S. Mail, First Class or served electronically through the Court’s ECF System at the e-mail address registered
with the Court on this Date:
Date:      11/14/2019
Chapter   13 Trustee:   William H. Griffin
Trustee Address:
Trustee Email:   inquiries@13trusteekc.com


Debtor's Counsel Name: Jason C Amerine
Debtor's Counsel Address:
Debtor's Counsel Email:   ks-ecf@castlelaw-kc.com


Debtor 1 Name:     Mark Duane Weedin
Debtor 2 Name   Margaret Rose Weedin
Debtor's Mailing Address: 811 Medford Circle, Olathe, KS 66062
Debtor Email:



                                                                                        David V. Noyce
                                                                                   _/s/________________________




                                 Case 14-20865          Doc#        Filed
                                                                 Page 5     11/14/19      Page 3 of 5
                                                                                                            Payment Changes
                                                                    Date                    P&I                Escrow       Total                 Notice Filed
                                                                           05/01/14                               $620.53         $620.53                POC
                                                                                                                    $0.00
                                                                                                                    $0.00
                                                                                                                    $0.00
                                                                                                                    $0.00
                                                                                                                    $0.00
                      Loan Information                                                                              $0.00
Loan #                                                                                                              $0.00
Borrower                MARGARET R WEEDIN                                                                           $0.00
BK Case #               14-20865
Date Filed              04/15/14
First Post Petition
Due Date                05/01/14
POC Covers              4/1/14 - 5/1/14

        Date                      Amount Rcvd   Post Pet Due Date    Contractual Due Date         Amt Due       Over/Short    Suspense Credit   Suspense Debit       Suspense Balance POC Arrears Credit   POC Debit   POC Suspense Balance POC Paid to Date    Comments
     5/29/2014                      $733.28         05/01/14                                      $620.53           $112.75             $112.75                                $112.75                                                  $0.00           $0.00
      7/7/2014                      $620.53         06/01/14                                      $620.53             $0.00                                                    $112.75                                                  $0.00           $0.00
     7/18/2014                      $620.53         07/01/14                                      $620.53             $0.00                                                    $112.75                                                  $0.00           $0.00
     8/29/2014                      $620.53         08/01/14                                      $620.53             $0.00                                                    $112.75                                                  $0.00           $0.00
     1/28/2015                     $1,241.06        09/01/14                                      $620.53           $620.53             $620.53                                $733.28                                                  $0.00           $0.00
     1/28/2015                                      10/01/14                                      $620.53          -$620.53                                $620.53             $112.75                                                  $0.00           $0.00
      2/3/2015                     $1,861.59        11/01/14                                      $620.53         $1,241.06           $1,241.06                              $1,353.81                                                  $0.00           $0.00
      2/3/2015                                      12/01/14                                      $620.53          -$620.53                                $620.53             $733.28                                                  $0.00           $0.00
      2/3/2015                                      01/01/15                                      $620.53          -$620.53                                $620.53             $112.75                                                  $0.00           $0.00
     3/12/2015                      $620.53         02/01/15                                      $620.53             $0.00                                                    $112.75                                                  $0.00           $0.00
     3/27/2015                      $620.53         03/01/15                                      $620.53             $0.00                                                    $112.75                                                  $0.00           $0.00
     4/27/2015                      $620.53         04/01/15                                      $620.53             $0.00                                                    $112.75                                                  $0.00           $0.00
     5/29/2015                      $620.53         05/01/15                                      $620.53             $0.00                                                    $112.75                                                  $0.00           $0.00
     6/25/2015                      $620.53         06/01/15                                      $620.53             $0.00                                                    $112.75                                                  $0.00           $0.00
     9/29/2015                     $2,199.84        07/01/15                                      $620.53         $1,579.31          $1,579.31                               $1,692.06                                                  $0.00           $0.00
     9/29/2015                                      08/01/15                                      $620.53          -$620.53                                $620.53           $1,071.53                                                  $0.00           $0.00
     9/29/2015                                      09/01/15                                      $620.53          -$620.53                                $620.53             $451.00                                                  $0.00           $0.00
     10/30/2015                     $733.28         10/01/15                                      $620.53           $112.75            $112.75                                 $563.75                                                  $0.00           $0.00
     11/30/2015                     $733.28         11/01/15                                      $620.53           $112.75            $112.75                                 $676.50                                                  $0.00           $0.00
     12/30/2015                     $733.28         12/01/15                                      $620.53           $112.75            $112.75                                 $789.25                                                  $0.00           $0.00
     1/29/2016                      $733.28         01/01/16                                      $620.53           $112.75            $112.75                                 $902.00                                                  $0.00           $0.00
     2/29/2016                      $733.28         02/01/16                                      $620.53           $112.75            $112.75                               $1,014.75                                                  $0.00           $0.00
     3/31/2016                      $620.53         03/01/16                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
      5/2/2016                      $620.53         04/01/16                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
     5/31/2016                      $620.53         05/01/16                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
     6/30/2016                      $620.53         06/01/16                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
     7/28/2016                      $620.53         07/01/16                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
     8/31/2016                      $620.53         08/01/16                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
     10/4/2016                      $620.53         09/01/16                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
     11/2/2016                      $620.53         10/01/16                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
     12/1/2016                      $620.53         11/01/16                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
     12/29/2016                     $620.53         12/01/16                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
      2/3/2017                      $620.53         01/01/17                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
      3/6/2017                      $632.23         02/01/17                                      $620.53            $11.70                                                  $1,014.75                                                  $0.00           $0.00
      4/7/2017                      $620.53         03/01/17                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
      5/5/2017                      $620.53         04/01/17                                      $620.53             $0.00                                                  $1,014.75                                                  $0.00           $0.00
     7/10/2017                      $237.20         05/01/17                                      $620.53          -$383.33                                $383.33             $631.42                                                  $0.00           $0.00
     10/9/2017                      $329.77         06/01/17                                      $620.53          -$290.76                                $290.76             $340.66                                                  $0.00           $0.00
     10/10/2017                     $620.53         07/01/17                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
     10/16/2017                     $620.53         08/01/17                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
     11/1/2017                      $620.53         09/01/17                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
     11/17/2017                     $620.53         10/01/17                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
     12/5/2017                      $620.53         11/01/17                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
      1/2/2018                      $620.53         12/01/17                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
      2/5/2018                      $620.53         01/01/18                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
     3/19/2018                      $620.53         02/01/18                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
     4/17/2018                      $620.53         03/01/18                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
      5/7/2018                      $620.53         04/01/18                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
     9/20/2018                      $620.53         05/01/18                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
     10/17/2018                     $620.53         06/01/18                                      $620.53             $0.00                                                    $340.66                                                  $0.00           $0.00
     1/22/2019                     $1,340.85        07/01/18                                      $620.53           $720.32            $720.32                               $1,060.98                                                  $0.00           $0.00
     1/22/2019                                      08/01/18                                      $620.53          -$620.53                                $620.53             $440.45                                                  $0.00           $0.00
      3/5/2019                      $620.53         09/01/18                                      $620.53             $0.00                                                    $440.45                                                  $0.00           $0.00
     3/18/2019                      $620.53         10/01/18                                      $620.53             $0.00                                                    $440.45                                                  $0.00           $0.00
      4/1/2019                      $620.53         11/01/18                                      $620.53             $0.00                                                    $440.45                                                  $0.00           $0.00
     4/15/2019                      $620.53         12/01/18                                      $620.53             $0.00                                                    $440.45                                                  $0.00           $0.00
      5/7/2019                                  Trustee Payment                                                       $0.00                                                    $440.45           $120.65                             $120.65         $120.65
     5/29/2019                      $620.53         1/1/2019                                      $620.53             $0.00                                                    $440.45                                               $120.65         $120.65
     6/20/2019                                  Trustee Payment                                                       $0.00                                                    $440.45            $86.08                             $206.73         $206.73
     6/28/2019                      $620.53         2/1/2019                                      $620.53             $0.00                                                    $440.45                                               $206.73         $206.73




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 7/23/2019     $620.53   3/1/2019           $620.53      $0.00                    $440.45          $206.73   $206.73
 8/20/2019     $620.53   4/1/2019           $620.53      $0.00                    $440.45          $206.73   $206.73
 9/23/2019     $620.53   5/1/2019           $620.53      $0.00                    $440.45          $206.73   $206.73
 9/25/2019     $620.53   6/1/2019           $620.53      $0.00                    $440.45          $206.73   $206.73
 10/29/2019    $620.53   7/1/2019           $620.53      $0.00                    $440.45          $206.73   $206.73
 11/5/2019     $620.53   8/1/2019           $620.53      $0.00                    $440.45          $206.73   $206.73
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PAYMENTS DUE              9/1/2019          $620.53   -$620.53                    $440.45          $206.73   $206.73
                         10/1/2019          $620.53   -$620.53                    $440.45          $206.73   $206.73
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